IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

Plaintiffs,

v. No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

Defendant.

CALLA WRIGHT, et al.,
Plaintiffs,
Vv.
No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

Defendants.

DECLARATION OF EDWIN M. SPEAS IN SUPPORT OF PLAINTIFFS’ REQUEST FOR
ATTORNEYS’ FEES AND LITIGATION EXPENSES

I, Edwin M. Speas, being duly sworn according to law, upon my oath, declare and say as
follows:

1. I am over the age of 18 and am competent to testify herein. I have personal
knowledge of the matters stated herein.

2. I am a partner with the law firm of Poyner Spruill LLP (*Poyner Spruill”) in

Raleigh, N.C.

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3. Since graduating Wake Forest University School of Law in 1971, I have been
engaged in the practice of law representing both plaintiffs and defendants in litigation in a range
of matters. Over the course of my career, I have served as North Carolina’s Chief Deputy
Attorney General, head of the Attorney General’s special litigation unit and general counsel for
Governor Beverly Perdue.

4, I have substantial experience in redistricting litigation. While a member of the
Attorney General’s staff, I participated in representing the State of North Carolina in Shaw 1.
Reno, 509 U.S. 630 (1993); Shaw v. Hunt, 517 U.S. 899 (1996); Hunt v. Cromartie, 526 U.S. 541
(1999); Easley v. Cromartie, 532 U.S. 231 (2001); and Stephenson v. Barlett, 355 N.C. 354, 562
S.E.2d 377 (2002). Since joining Poyner Spruill, I have participated in representing the plaintiffs
in Dickson v. Rucho, 367 N.C. 542, 766 S.E.2d 238 (2014); Harris v. McCrory, No. 1:13-cv-
00949; and Covington v. North Carolina, No. 1:15-cv-00399 (M.D.N.C.).

5. I have known Anita Earls for more than 20 years. Over the past five years, she
and I have worked side-by-side on a number of voting rights cases. She has been a talented.
knowledgeable, efficient and effective advocate for her clients in all the matters on which we
have worked. Experts in the voting rights field count her as one of the nation’s best voting rights
lawyers.

6. I have also worked side-by-side with Allison Riggs over the last five years on a
number of voting rights cases. Like Ms. Earls, Ms. Riggs is a talented, knowledgeable, efficient
and effective advocate for her clients. Lawyers across the country count her as one of the
nation’s best, young, voting rights advocates. She has devoted almost her entire practice to
voting rights, so her experience in the field is exceptionally concentrated given her years in

practice.

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7. I am generally familiar with the rates charged for voting rights litigation in North
Carolina now and in the past. My understanding is that Ms. Earls is requesting $ 550 per hour
for her services in this case and that Ms. Riggs is requesting $400 per hour for her services.
Based on my experience, these rates are comparable to rates currently requested by other
similarly experienced and qualified attorneys in voting rights litigation in North Carolina, and
accurately reflect the value of their services to their clients. .

8. I am also familiar with the level of effort required to prepare and present a strong
case for the parties to voting rights litigation. I know Ms. Earls and Ms Riggs to be efficient
advocates for their clients - in addition to being effective advocates for their clients — and it
appears to me that the hours for which they seek compensation were reasonably necessary to
obtain the victory they obtained. for their clients

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

Executed this the 23" day of November, 2016, in Raleigh, North Carolina..

Gif

Edwin M. Speas ~—

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